         Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 1 of 8


                               UNITED STATES DISTRICT COURT
                                   Eastern District of California

                         Superseding Petition For Warrant or Summons For
                                   Offender Under Supervision



Name of Offender:      Mayo Martinez Murillo                  Docket Number:      1:12CR00292-003

Name of Judicial Officer:     United States District Judge Dale A. Drozd

Date of Original Sentence:    7/22/2013

Original Offense: 21 U.S.C. § 841(a)(1), Manufacturing 100 or More Marijuana Plants (Class B Felony)

Original Sentence: 60 months Bureau of Prisons, 48 months supervised release, Mandatory Drug
Testing, $100 special assessment.

Special Conditions: 1) Warrantless Search; 2) Financial Disclosure; 3) Drug/Alcohol Treatment; 4)
Drug/Alcohol Testing; 5) Pager/Cellular Phone Restriction; 6) Aftercare Co-payment; 7) Drug
Registration ; 8) Gang Associations


Type of Supervision:     Supervised Release

Date Supervision Commenced:         12/23/2016

Other Court Actions:

09/26/2017:     Probation Form 12C, Petition for Warrant, filed alleging Unlawful Use of a Controlled
                Substance, Failure to Participate in Drug Testing as Directed, Failure to Notify of Change
                in Residence, and New Law Violation. Court ordered warrant for arrest.


                                    PETITIONING THE COURT

☐ TO ISSUE A WARRANT

☒ OTHER:        TO SUPERSEDE THE PETITION FILED ON SEPTEMBER 26, 2017, WITH AN
ADDITIONAL CHARGE.




                                          Page 1 of 8                                               PROB 12C
                                                                                                      (07/13)
          Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 2 of 8

RE: Mayo Martinez Murillo                                   Docket Number: 1:12CR00292


The probation officer alleges the offender has violated the following conditions of supervision:

Charge Number           Nature of Violation

Charge 1:       UNLAWFUL USE OF A CONTROLLED SUBSTANCE

On August 10, 2017, the offender tested positive for marijuana. This is in violation of the standard
condition: “The defendant shall refrain from any unlawful use of a controlled substance.”

Charge 2:       FAILURE TO PARTICIPATE IN DRUG TESTING AS DIRECTED

On September 5 and September 18, 2017, the offender failed to report to drug testing as directed. This is
in violation of special condition number 4: “As directed by the probation officer, the defendant shall
participate in a program of testing to determine if he has reverted to the use of drugs or alcohol.”

Charge 3:       FAILURE TO NOTIFY OF CHANGE IN RESIDENCE

On or about September 20, 2017, the offender moved from his reported residence without notifying his
probation officer. This is in violation of the standard condition: “The defendant shall notify the probation
officer at least ten days prior to any change in residence or employment.”

Charge 4:       NEW LAW VIOLATION

On September 1, 2017, the offender deliberately vandalized the victim’s window to her residence. This is
in violation of the mandatory condition: “The defendant shall not commit another federal, state, or local
crime”, and in violation of California Penal Code Section 148(a)(1).

Charge 5:       NEW LAW VIOLATION

On November 22, 2017, the offender was convicted of Unlawfully Taking of a Vehicle in Fresno County
Superior Court Case No. F17905900. This is in violation of the mandatory condition: “The defendant
shall not commit another federal, state, or local crime”, and in violation of California Vehicle Code
Section 10851(a).

Justification: The offender commenced supervision on December 23, 2016. On August 11, 2017, the
offender reported to the probation office and submitted a positive urine sample for marijuana. As a result
of his relapse with drugs, the offender was referred to drug testing for further monitoring. On
September 1, 2017, the offender was named as a suspect in an offense involving vandalism in Fresno
Police Department case no. 17-057398. According to the law enforcement reports, the offender went to
the victim’s residence, a former girlfriend, in an attempt to speak with her. However, when the victim
refused to open the front door, the offender became angry and started kicking the door. Shortly after, the
victim saw the offender pick up a stick and break a window, which was adjacent to a rear door that led to
her bedroom. The offender left the scene before officers arrived. On September 5, 2017, the offender
failed to report to drug testing as directed. On September 20, 2017, the Probation Office received a
telephone message indicating the offender was no longer residing at his reported address.


                                           Page 2 of 8                                               PROB 12C
                                                                                                       (07/13)
         Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 3 of 8

RE: Mayo Martinez Murillo                               Docket Number: 1:12CR00292


The offender has discontinued all contact with the probation office, and his current whereabouts are
unknown.

On October 6, 2017, the offender was arrested by Fresno Sheriff’s Department for stealing a 2012 Chevy
Cruze (approximate value $10,000). On November 22, 2017, the offender was sentenced to two years
formal probation and 97 days in custody for Unlawfully Taking of a Vehicle (Fresno County Superior
Court Case No. F17905900).

Detention: Considering the nature of the violations and the offender’s failure to comply with his
supervision conditions, it is recommended a no-bail warrant be issued and the Court detain him pending
disposition as he is deemed a risk to himself and the community, as well as a flight risk.

              I declare under penalty of perjury that the following is true and correct.

EXECUTED ON:          November 28, 2017
                      Fresno, California


                                                    Respectfully submitted,
                                                    /s/ Marlene K. DeOrian


                                                    Marlene K. DeOrian
                                                    Senior United States Probation Officer
                                                    Telephone: (559) 499-5729
DATED:       11/28/2017
                                                    Reviewed by,
                                                    Tim D. Mechem


                                                    Tim D. Mechem
                                                    Supervising United States Probation Officer




                                         Page 3 of 8                                            PROB 12C
                                                                                                  (07/13)
          Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 4 of 8

RE: Mayo Martinez Murillo                              Docket Number: 1:12CR00292




THE COURT FINDS PROBABLE CAUSE AND ORDERS:

This petition supersedes the Petition filed on September 26, 2017, with an additional violation
charge. Initial appearance on Superseding Petition and detention hearing set for 11/29/2017, at
2:00 p.m. before Magistrate Judge Stanley A. Boone.



IT IS SO ORDERED.

      Dated:   November 28, 2017
                                                    UNITED STATES DISTRICT JUDGE




CC:

United States Probation

Assistant United States Attorney: Kevin P. Rooney

United States Marshal Service




                                        Page 4 of 8                                      PROB 12C
                                                                                           (07/13)
         Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 5 of 8

RE: Mayo Martinez Murillo                                  Docket Number: 1:12CR00292




                            STATEMENT OF EVIDENCE OF ALLEGED

                               SUPERVISED RELEASE VIOLATIONS


Honorable Dale A. Drozd
United States District Judge
Fresno, California

                                                 RE:     Murillo, Mayo Martinez
                                                         Docket Number: 1:12CR00292-03 DAD


Your Honor:

In addition to a copy of the Acknowledgment of Conditions Supervised Release and Receipt of
Criminal Judgment and Judgment and Commitment Order, the following evidence and/or testimony
will be offered to support the probation officer's allegation that the above-named releasee is in violation
of the conditions of supervision as stated on the attached Probation Form 12C - Petition for Warrant or
Summons for Offender Under Supervision.

Charge 1:       UNLAWFUL USE OF A CONTROLLED SUBSTANCE

            a. Evidence:

                     i. Admission Report of Positive Drug Test Signed by the Offender dated
                        August 10, 2017.

            b. Witnesses:

                     i. United States Probation Officer Marlene K. DeOrian.


Charge 2: FAILURE TO PARTICIPATE IN DRUG TESTING AS DIRECTED

            a. Evidence:


                                           Page 5 of 8                                               PROB 12C
                                                                                                       (07/13)
        Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 6 of 8

RE: Mayo Martinez Murillo                               Docket Number: 1:12CR00292


                   i. Turning Point Aftercare Notification Reports.

            b. Witnesses:

                   i. United States Probation Officer Marlene K. DeOrian.




Charge 3:      FAILURE TO NOTIFY OF CHANGE IN RESIDENCE

            a. Evidence:

                   i. None.

            b. Witnesses:

                   i. United States Probation Officer Marlene K. DeOrian.


Charge 4:      NEW LAW VIOLATION

            a. Evidence:

                   i. Fresno Police Department report case no. 17-057398.

            b. Witnesses:

                   i. United States Probation Officer Marlene K. DeOrian.


Charge 5:      NEW LAW VIOLATION

            a. Evidence:

                   i. Fresno Sheriff’s Department report case no. 170014710.1.

            b. Witnesses:

                   i. United States Probation Officer Marlene K. DeOrian.



                                                   Respectfully submitted,


                                        Page 6 of 8                                  PROB 12C
                                                                                       (07/13)
         Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 7 of 8

RE: Mayo Martinez Murillo                      Docket Number: 1:12CR00292


                                           /s/ Marlene K. DeOrian


                                           Marlene K. DeOrian
                                           Senior United States Probation Officer
                                           Telephone: (559) 499-5729
DATED:      11/28/2017
            Fresno, California



                                           Reviewed by,
                                           /s/ Tim D. Mechem


                                           Tim D. Mechem
                                           Supervising United States Probation Officer




                                 Page 7 of 8                                         PROB 12C
                                                                                       (07/13)
         Case 1:12-cr-00292-DAD Document 109 Filed 11/29/17 Page 8 of 8

RE: Mayo Martinez Murillo                                 Docket Number: 1:12CR00292


                        REVOCATION GUIDE – SUPERVISED RELEASE

Name of Offender:     Mayo Martinez Murillo                  Docket Number:      1:12CR00292-03

Date of Original Offense:     07/22/2013

Original term of supervised release imposed: 4 years

Highest grade of violation alleged: B

Criminal History Category of offender: I

Original guideline range: 60 to 71 months.

Chapter 7 range of imprisonment: 6 to 12 months.

Maximum term on revocation - 18 USC 3583(e)(3): (choose one below)

☐       Class A felony - 5 years (or stat max of years if longer)
☒       Class B felony - 3 years
☐       Class C and/or D felony - 2 years
☐       Class E felony and misdemeanors - 1 year

Violation requires mandatory revocation: YES: ☒ NO: ☐

Original offense committed on or after 04/30/2003: Court may sentence up to the statutory maximum
term of supervised release applicable to the original offense of conviction, but not exceed the maximum
for the classes of offenses noted above. There is no adjustment for prison time imposed for any previous
revocation of the term of supervised release. The Court must consider but is not bound by Chapter 7
ranges. Upon revocation, the Court may re-impose supervised release; however, the term is limited to the
statutory maximum authorized under Title 18 USC 3583(e)(3) for the original offense of conviction, less
the current term of imprisonment imposed upon revocation, and all prior terms of imprisonment imposed
upon previous revocations.

                              MANDATORY REVOCATION ISSUES

Original offense committed after 09/13/94: Title 18 USC 3583 instructs that supervision shall be
revoked upon a finding of: 1) Possession of a controlled substance; 2) Possession of a firearm; or,
3) Refusal to comply with mandatory drug testing. If the violation involves the use of a controlled
substance, the Court has the discretion to find that "use" constitutes "possession."

Positive/Failed Drug Tests after 11/02/2002: Title 18 USC 3583(g) amended and instructs that
supervision be revoked for: Testing positive for illegal controlled substances more than three times over
the course of one year.


                                           Page 8 of 8                                             PROB 12C
                                                                                                     (07/13)
